8:09-cr-00019-JFB-FG3      Doc # 91     Filed: 04/17/13   Page 1 of 1 - Page ID # 247




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

 UNITED STATES OF AMERICA,                 )
                                           )
                      Plaintiff,           )
                                           )              8:09CR19
              vs.                          )
                                           )               ORDER
 TRAVIS J. BISHOP,                         )
                                           )
                      Defendant.           )

       Defendant Travis J. Bishop appeared before the court on Wednesday,
 April 17, 2013 on a Petition for Warrant or Summons for Offender Under
 Supervision [86]. The defendant was represented by CJA Panel Attorney
 Michael J. Lehan and the United States was represented by Assistant U.S.
 Attorney Thomas J. Kangior.          The government did not request detention
 therefore, the Defendant was not entitled to a preliminary examination. The
 defendant was released on current terms and conditions of supervision.
       I find that the Report alleges probable cause and that the defendant should
 be held to answer for a final dispositional hearing before Judge Bataillon.
       IT IS ORDERED:
       1.     A final dispositional hearing will be held before Judge Bataillon in
 Courtroom No. 3, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th
 Plaza, Omaha, Nebraska, on May 16, 2013 at 8:30 a.m. Defendant must be present
 in person.
       2.     The defendant is released on current conditions of supervision.
       DATED this17th day of April, 2013.

                                                  BY THE COURT:

                                                  s/ F. A. Gossett
                                                  United States Magistrate Judge
